UNITED STATES DISTRICT COURT
FOR THE

WESTERN DISTRICT OF TENNESSEE

 

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NO= 102¢,r1002€>”?’c£‘4j:c i“

USA v- Jackie L. Elliott

AD Prosequendum
FOR= Re-Sentencing

TO: USM, Western District of TN
Warden, Terre Haute USP

YOU ARE HEREBY COMMANDED to have the person of J ackie Elliott, Inmate #18243-076,
by you restrained of his/her liberty, as it is said, by whatsoever names detained, together with the day
and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S. District Court
Judge, for the Western Distn'ct of Tennessee, at the room of said Court, in the City of Jackson,
Tennessee, at 8:45 a.m. on the 16th day of J une, 2005, then and there to do, submit to, and receive
whatsoever the said Judge shall then and there determine in that behalf; and have you then and there
this writ; further, to hold him in federal custody until disposition of this case and to produce him

for such other appearances as this court may direct.

ENTERED THIS _Q_LL¢§KY oF mm?/ ,20 05/ .
C)WMA 25 -<9~¢‘(

JAM . TODD
UNI STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 118 in
case 1:02-CR-10026 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

J on A. York

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U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

